387 F.2d 383
    Willie Lee RADFORD, Appellant,v.Alfred N. GRAY and Ira Jones, Appellees.The GLASGOW &amp; DAVIS COMPANY, Inc., and Nationwide Mutual Insurance Company, Appellants,v.Ira JONES and Alfred N. Gray, Appellees.
    Nos. 11544-11545.
    United States Court of Appeals Fourth Circuit.
    Argued December 6, 1967.
    Decided December 18, 1967.
    
      George A. Weaver, Wilson, N. C., for appellant Willie Lee Radford. Louis B. Meyer, Wilson, N. C., for appellant Glasgow &amp; Davis Co., Inc. (Thomas M. Moore and Z. Hardy Rose, Moore &amp; Moore, and Lucas, Rand, Rose &amp; Meyer on the brief).
      Cyrus F. Lee, Wilson, N. C., (J. M. Reece, and Gardner, Conner &amp; Lee, Wilson, N. C., on the brief), for appellees.
      Before BRYAN, CRAVEN and BUTZNER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The common and decisive issue in these consolidated appeals is the sufficiency of the evidence, on negligence, to carry to the jury the several plaintiffs' claims for personal injury and property damage resulting from a collision, the night of March 11, 1964 on U. S. Highway No. 301 in North Carolina, between a truck driven by and on their behalf and the truck owned and controlled by the defendants, respectively. Sustaining jurisdiction against the defendants' objection in one case, the District Court directed a verdict for them in both cases at the end of the plaintiffs' proof in chief. We affirm on jurisdiction, but reverse on the direction.
    
    
      2
      Assessing the testimony, we cannot conclude that reasonable jurors could not differ on the questions whether the evidence, ex facie, established the defendant driver not negligent, the plaintiffs' driver negligent, or both negligent. Fixing responsibility for the accident was, therefore, a resolution to be left to the jury upon the proof of all parties with apt, adjective instructions.
    
    
      3
      The judgment now on review should be set aside, and a new trial ordered, by the District Court.
    
    
      4
      Reversed and remanded.
    
    